             Case 1:22-cv-00211-N/A Document 9              Filed 08/17/22      Page 1 of 7




                   UNITED STATES COURT OF INTERNATIONAL TRADE

                                                                      )
 FINE FURNITURE (SHANGHAI) LIMITED AND                                )
 DOUBLE F LIMITED,                                                    )
                                                                      )
                                          Plaintiffs,                 )
                                                                      )
                                                                               Ct. No. 22-00211
                                  v.                                  )
                                                                      )
 UNITED STATES,                                                       )
                                                                      )
                                          Defendant.                  )
                                                                      )

                                             COMPLAINT

        Plaintiffs Fine Furniture (Shanghai) Limited and Double F Limited (“Fine Furniture”), by

and through their counsel, allege and state as follows:

                             I.        PROCEEDING UNDER REVIEW

        1.        This action seeks judicial review of certain aspects of the Final Results of the ninth

countervailing duty (“CVD”) administrative review of Multilayered Wood Flooring (“MLWF”)

From the People’s Republic of China issued by the U.S. Department of Commerce (“Commerce”).

See Multilayered Wood Flooring From the People’s Republic of China: Final Results and Partial

Rescission of Countervailing Duty Administrative Review; 2019, 87 Fed. Reg. 36,305 (Dep’t of

Commerce June 16, 2022) (“Final Results”), and accompanying Issues and Dec. Mem. (“Final

I&D Mem.”).

                     II.    JURISDICTION AND STANDARD OF REVIEW

        2.        Fine Furniture brings this action pursuant to the Tariff Act of 1930, as amended

(the “Act”), sections 516A(a)(2)(A)(i)(I) and 516A(a)(2)(B)(iii), 19 U.S.C. § 1516a(a)(2)(A)(i)(I);

(a)(2)(B)(iii).

        3.        This Court has jurisdiction pursuant to 28 U.S.C. § 1581(c) and section
            Case 1:22-cv-00211-N/A Document 9             Filed 08/17/22     Page 2 of 7




516A(a)(2)(A)(i)(II), (a)(2)(B)(i) of the Act, 19 U.S.C. §§ 1516a(a)(2)(A)(i)(I), (a)(2)(B)(iii).

       4.      The standard of review, as set forth in section 516A(b)(1)(B)(i) of the Act,

19 U.S.C. § 1516a(b)(1)(B)(i), is whether the determinations, findings or conclusions of

Commerce are “unsupported by substantial evidence on the record, or otherwise not in accordance

with law.”

                                       III.    STANDING

        5.     Fine Furniture is a foreign producer and exporter of the subject merchandise and,

thus, qualify as an interested party pursuant to 19 U.S.C. § 1677(9)(A).

        6.     Accordingly, Fine Furniture has standing to bring this action pursuant to 28 U.S.C.

§ 2631(c).

                               IV.     TIMELINESS OF THIS ACTION

        7.     On June 16, 2022, Commerce published the Final Results in the Federal Register.

See Final Results, 87 Fed. Reg. at 36,305.

        8.     Fine Furniture commenced this action by filing a summons on July 18, 2022, which

was within thirty days of the publication of the Final Results in the Federal Register. See Summons

(July 18, 2022), ECF No. 1. This complaint is being filed within thirty days after the date on which

Fine Furniture filed its summons.

        9.     Thus, Fine Furniture’s summons and complaint are timely filed pursuant to 19

U.S.C. §§ 1516a(a)(2)(A)(i)(I) and (a)(2)(B)(iii) and Rule 3(a)(2) of the Rules of the U.S. Court

of International Trade.




                                                  2
          Case 1:22-cv-00211-N/A Document 9            Filed 08/17/22     Page 3 of 7




                              V.     STATEMENT OF FACTS

       10.     Commerce initiated the CVD investigation of MLWF from China on November

18, 2010, following the filing of the petition on October 21, 2010. See Multilayered Wood

Flooring From the People's Republic of China: Initiation of Countervailing Duty Investigation, 75

Fed. Reg. 70,719 (Dep’t of Commerce Nov. 18, 2010). The U.S. International Trade Commission

(“Commission”) simultaneously conducted its investigation. See Multilayered Wood Flooring

from China, 75 Fed. Reg. 66,126 (Int’l Trade Comm’n Oct. 27, 2010).

       11.     On December 8, 2011, Commerce issued a CVD order on MLWF from China

following an affirmative CVD determination and an affirmative injury determination by the

Commission.        See Multilayered Wood Flooring from the People’s Republic of China:

Countervailing Duty Order, 76 Fed. Reg. 76,692 (Dep’t of Commerce Dec. 8, 2011).

       12.     In December 2021, certain interested parties requested that Commerce conduct an

administrative review of the CVD order on MLWF from China. See Initiation of Antidumping

and Countervailing Duty Administrative Reviews, 86 Fed. Reg. 8166 (Dep’t of Commerce Feb. 4,

2021). On February 4, 2021, Commerce initiated the ninth administrative review of the CVD

order on MLWF from China covering the period January 1, 2019 through December 31, 2019.

See id. at 8173.

       13.     On March 19, 2021, Commerce selected two mandatory respondents for the ninth

administrative review: (1) Jiangsu Senmao Bamboo and Wood Industry Co., Ltd. (“Jiangsu

Senmao”) and (2) Riverside Plywood Corp. (“Riverside Plywood”). See Multilayered Wood

Flooring From the People’s Republic of China: Preliminary Results of Countervailing Duty

Administrative Review, and Intent to Rescind Review, in Part; 2019, 86 Fed. Reg. 73,244-45

(Dep’t of Commerce Dec. 27, 2021) (“Prelim. Results”), and accompanying Dec. Mem (“Prelim.



                                               3
          Case 1:22-cv-00211-N/A Document 9              Filed 08/17/22     Page 4 of 7




Dec. Mem.”). In its Preliminary Results, Commerce preliminarily found that both mandatory

respondents received countervailable benefits during the POR. See Prelim. Dec. Mem. at 6.

Commerce calculated a preliminary CVD rate of 22.70 percent for Riverside Plywood, 5.50

percent for Jiangsu Senmao and 15.71 percent for non-selected companies under review, including

Fine Furniture. See Prelim. Results, 86 Fed. Reg. at 73,246.

        14.     On June 1, 2021, interested parties, including Fine Furniture, submitted case briefs

for Commerce’s consideration prior to issuing the Final Results. See Final I&D Mem. at 3. In

their case brief, Fine Furniture made the following arguments: 1) Commerce improperly applied

adverse facts available in its Export Buyer’s Credit Program (“EBCP”) determination, 2)

Commerce erred in including back board purchases in the subsidy rate calculation, 3) Commerce

miscalculated the benchmark when determining the benefit for the provision of wood glue and

adhesives for less than adequate renumeration (“LTAR”) program, 4) Commerce erred in

calculating the benchmark for the provision of fiberboard LTAR and paint, primer and stain LTAR

programs, and 5) Commerce improperly relied on UN Comtrade data to calculate the benchmark

for the provision of plywood for LTAR program. Fine Furniture also joined in arguments made

by other respondents.

        15.     On March 2, 2022, the mandatory respondents and Fine Furniture submitted timely

rebuttal briefs. See id. at 3-4. On March 30, 2022, Commerce held a hearing concerning issues

raised in the case briefs. See id. at 4.

        16.     On June 16, 2020, Commerce published its Final Results. See Final Results, 87

Fed. Reg. at 36,305. Commerce calculated net countervailable subsidy rates of 12.74 percent for

Riverside Plywood, 3.36 percent for Jiangsu Senmao and a review-specific rate applicable to the

non-selected companies, including Fine Furniture, of 9.85 percent. See id. at 73,246.



                                                 4
            Case 1:22-cv-00211-N/A Document 9          Filed 08/17/22    Page 5 of 7




       17.     In the Final Results, Commerce continued to use adverse facts available (“AFA”)

against the Government of China to determine that the EBCP constitutes a financial contribution.

See Final I&D Mem. at Cmt. 1.

       18.     In addition, Commerce included backboard purchases in the provision of veneers

for LTAR program and calculated the face veneer benchmark based on an average of ITTO data

and UN Comtrade data and backboard veneer benchmark based on UN Comtrade data. See id. at

Cmt. 8.E.

       19.     Finally, Commerce continued to value the plywood benchmark by taking a weight-

average of the ITTO data and UN Comtrade data on the record despite Fine Furniture’s arguments

that Commerce should rely only on grade C/CC ITTO to value this input. See id. at Cmt. 8.D.

                          VI.     STATEMENT OF THE CLAIMS

                                               COUNT I

       20.     Fine Furniture herein incorporates by reference paragraphs 1 through 19 supra.

       21.     Commerce’s application of AFA to the Government of China regarding the EBCP

program was unsupported by substantial evidence or otherwise not in accordance with law because

record evidence established non-use of the program and Commerce had the ability to verify the

program.

                                          COUNT II

       22.     Fine Furniture herein incorporates by reference paragraphs 1 through 21 supra.

       23.     Commerce’s inclusion of backboard purchases in the provision of veneers for

LTAR program was unsupported by substantial evidence or otherwise not in accordance with law

because record evidence provided by the mandatory respondents establishes that veneers and

backboard have different grades and quality.


                                               5
          Case 1:22-cv-00211-N/A Document 9               Filed 08/17/22     Page 6 of 7




                                             COUNT III

       24.      Fine Furniture herein incorporates by reference paragraphs 1 through 23 supra.

       25.      Commerce’s inclusion of UN Comtrade data in its calculation of the veneer

benchmark instead of relying solely on ITTO data was unsupported by substantial evidence or

otherwise not in accordance with law because the ITTO data are more specific to the input being

valued, i.e., face and back veneer, than are the UN Comtrade data, which do not distinguish

between different types of veneer.

                                             COUNT IV

         26.    Fine Furniture herein incorporates by reference paragraphs 1 through 25 supra.

         27.    Commerce’s decision to average UN Comtrade data and ITTO data in its

calculation of the plywood benchmark instead of relying on only C/CC grade prices in the ITTO

data was unsupported by substantial evidence or otherwise not in accordance with law because

only these data reflect the grade of plywood used by mandatory respondents.

                  DEMAND FOR JUDGMENT AND PRAYER FOR RELIEF

       WHEREFORE, and as challenged herein, Fine Furniture respectfully pray that this Court:

       (1) declare Commerce’s actions as described in Counts I through IV were unsupported by

             substantial evidence or otherwise not in accordance with law;

       (2) remand to Commerce with instructions to recalculate all others rate assigned to Fine

             Furniture in this investigation in accordance with the Court’s decision;

       (3) order Commerce to publish amended final results in the Federal Register in accordance

             with a final decision by this Court;

       (4) order Commerce to issue amended cash deposit instructions to the U.S. Customs and

             Border Protection consistent with this Court’s decision; and


                                                    6
         Case 1:22-cv-00211-N/A Document 9            Filed 08/17/22        Page 7 of 7




      (5) provide such other relief as this honorable Court deems proper.

                                                   Respectfully submitted,

                                                   /s/ Kristin H. Mowry
                                                   Kristin H. Mowry
                                                   Sarah M. Wyss
                                                   Yixin “Cleo” Li
                                                   Jacob M. Reiskin
                                                   Mowry & Grimson, PLLC
                                                   Counsel to Fine Furniture (Shanghai)
                                                   Limited and Double F Limited

Date: August 17, 2022




                                              7
